                      UNITED STATES DISTRICT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA       )
                               )
                               )
v.                             )       Case No. 22-cr-00015-APM
                               )
STEWART RHODES, et. al.,       )
                               )
                               )
                Defendants     )
                               )




     DEFENDANT ROBERTO MINUTA’S MOTION IN LIMINE TO PRECLUDE
      ADMISSION UNDER RULE 801(D)(2)(E) OF STATEMENTS BY NORTH
         CAROLINA OATH KEEPERS AFTER NOVEMBER 15, 2020.




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      Defendant Roberto Minuta, through his Counsel of Record William L.

Shipley, hereby respectfully moves this Court to preclude the admission of

hearsay statements by any members of the North Carolina Oath Keeper

chapter made on or after November 15, 2020, on the basis that those

individuals had withdrawn from any alleged conspiracy that might have existed

as of that date.

      During the first trial involving the severed Defendants, testimony was

given by witnesses called by both the Government and the Defendants who

testified about the events of the “Million MAGA March” (“MMM”) on November

14, 2020. Those witnesses included John Zimmerman, John Roeper, and

defendant Thomas Caldwell. Zimmerman was called as a witness by the

Government.

      The Court will recall that the consistent testimony of each was that

Defendant Stewart Rhodes was extremely displeased with the decision by North

Carolina Chapter leader Doug Smith (“Ranger Doug”) on November 14 to

withdraw his security detail from the District of Columbia prior to confirmation

at the end of the MMM event that all persons who may have wanted Oath

Keepers’ assistance were safely out of the city.

      Rhodes attacked the judgment and decision-making of the North

Carolina Chapter leader Smith during a verbal tirade in front of a crowd of

Oath Keepers at the rural Virginia farm of Defendant Thomas Caldwell in the

early evening of November 14, after the groups had assembled for an “After

Action Report.”


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            “At the time, we were all – those of us that were left were pretty
      upset with how things actually transpired after the fact.

            When he [Rhodes] arrived there, we went into the AAR [After Action
      Report]. He had – basically was, for lack of a better term, badmouthing
      Ranger Doug, saying that he made the wrong decision and we were
      supposed to stay out there and he’ll never make another decision again
      type comments.

            And it was pretty loud.”

October 6, 2022, Trial Transcript p. 1922, lines 1-9.

      Q.    No, I don’t need the whole story. I’m just establishing that there
      was clearly bad blood between Mr. Rhodes and Mr. Smith at this point?

      A.    Generated that day, yes.

      Q.    Yes, sir.
            And I accept that.
            Would you agree with me that fundamentally at that moment, that
      there was an immediate split between the Oath Keepers?

      A.    That day, yes, sir….
            I don’t even know that he had to say anything because that’s how
            obvious it was.

October 6, 2022, Trial Transcript p. 1940, lines 5-20.

      Defendant Caldwell remained in contact with North Carolina Oath

Keeper Paul Stamey in the days following November 14, and learned that the

North Carolina Chapter voted unanimously to cease following the national

organization and leadership of Stewart Rhodes as a result of the episode. jBoth

Caldwell and North Carolina Oath Keeper, and retired FBI Special Agent, John

Roeper testified to such a vote having been taken.

      The indictment refers multiple times to the “plan” which is the basis of

the charged conspiracies as being the “Rhodes Plan.” Notwithstanding the fact

that North Carolina Oath Keepers came to Washington D.C. on January 6,


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2021, as a “QRF”, there is no evidence that it did so in coordination with

Rhodes. In fact, the evidence was that Rhodes only acknowledged that North

Carolina Oath Keepers would be coming for the “Stop the Steal” march after

that group had announced on its own that it would be doing so.

      No evidence was offered by the Government to contradict the testimony

about the severing of the relationship between the North Carolina Chapter and

after the November event. The Government offered no evidence of a

rapprochement between Rhodes and the North Carolina Chapter that would

support a finding by a preponderance of the evidence that anyone from the

North Carolina Chapter had agreed to be a member of the charged

conspiracies.

      As a result, there is no longer a factual basis to conclude that the

members of the North Carolina chapter were unindicted co-conspirators on or

after November 15, 2020. As such, there is no basis to admit any statements,

communications or messages by any such individual under Rule 801(d)(2)(E).



Dated: December 11, 2022             Respectfully submitted,

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